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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION

UNITED STATES OF AMERICA             )
                                     )
        v.                           )       No. 19 CR 864
                                     )
BRAD PURDY                           )
                                     )       Judge Thomas M. Durkin
                                     )

 GOVERNMENT’S POSITION PAPER ON SENTENCING FACTORS
AND OBJECTIONS TO THE PRESENTENCE REPORT REGARDING
                  DEFENDANT PURDY

      Brad Purdy was a knowing and willing participant in a billion-dollar

fraud. He joined Outcome Health in its early years and quickly learned that

the company’s growth was fueled by lies. The company sold inventory to its

clients that did not exist, sought to acquire the inventory it had just sold, and

then concealed any resulting shortfalls from clients. Ever loyal to co-

defendants Rishi Shah and Shradha Agarwal, Purdy supported the Outcome

model of selling the future, of telling lies in the short run in the hopes that

reality would eventually catch up. He was all in: Fake it until you make it.

      As the Chief Operating Officer, and later the Chief Financial Officer,

Purdy was at the center of the fraud that Rishi Shah and Shradha Agarwal

began and that Ashik Desai took to new heights. And Purdy could have stopped

it. Before Outcome billed its clients for over $45 million in services it did not

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deliver. Before Outcome raised $110 million in loans in April 2016, $375 million

in loans in December 2016, and $487.5 million in financing, all based on

inflated financial statements. But Purdy pushed ahead, supporting and

concealing the massive fraud at Outcome. He acted as if things were normal,

despite hearing from one concerned employee after another that Outcome’s

rotten business practices persisted, despite learning that massive make-goods

would have to be given to paper over the company’s willful shortfalls. Purdy’s

incentive to facilitate and conceal the fraud was a powerful one. Even with an

equity stake of less than 1%, Purdy stood ready to gain millions of dollars in

the scheme. For these reasons, the jury convicted Purdy of 13 of 15 counts

charged in the superseding indictment.

      These were serious offenses that merit serious punishment. Purdy was

a key participant in a pervasive scheme for many years and was instrumental

in causing losses of more $500 million. The Court should sentence the

defendant to 10 years in prison, a sentence well-supported by the 18 U.S.C. §

3553(a) factors.




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   I.        Background

        The government will assume familiarity with the government’s version

of the offense in order to reduce the length of this filing. The government’s

version is hereby incorporated by reference.1

        A.     Purdy Joined Outcome Health and the Fraud Scheme

        In the summer of 2012, one year after his graduation from Northwestern

University, Purdy joined Outcome. Within a few months of his start, he

assumed the role of Chief Operating Officer. GX1920. Given Outcome’s small

size at the time, Purdy had his hands in both the company’s revenue

generating side (selling campaigns to advertisers) and its network building

side (installing new devices). He advised on list matches, GX98, reviewed ROI

studies, GX167 & GX287, tracked campaign delivery, GX195, tracked new

device installations, GX221, helped launch tablets, GX260, and strategized on

device growth, GX301.

        Within that first year, Purdy learned that Outcome’s business model was

to sell inflated delivery and then conceal any under-deliveries from its clients.

Purdy was at Shah and Agarwal’s talk in November 2012 where Shah spoke of



1 The Government no longer asserts that the Court should apply the sentencing enhancement for

deriving more than $1 million in gross receipts from a financial institution under 2B1.1(b)(17)(A).
Purdy did not derive that amount individually, even though other co-defendants did. See Guidelines
§ 2B1.1 Application Note 13(A).

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using a “smoke bomb” to overcome the dilemma of a “two-sided market” in

which Outcome needed enough screens to attract advertisers, but also enough

revenue from advertisers to pay for the installation of new screens. GX61, 70,

1054.

        Purdy endorsed this “smoke bomb” approach to selling and delivering

advertising services, as born out in the 2013 Pradaxa campaign. There,

Outcome sold Pradaxa 1819 offices even though Outcome had less than 1/3

installed at the time of the sale and began the campaign with less than half

that number. GX101, 195, 196, 265. Even if Purdy believed the campaign was

being delivered on a weighted average basis, GX195, he knew that the

campaign delivery was woefully short with only a few months left in the year,

e.g., GX331.




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And despite this knowledge, Purdy agreed with Desai that the under-

deliveries would have to be concealed when selling Pradaxa an even larger

campaign for the following year. GX313.

      Purdy took similar action in the rheumatology campaigns. By late 2013,

Outcome had oversold its rheumatology network to Humira and Xeljanz, who

were competitors. Rather than ensuring clients were told of the oversold

network and under-delivery, Purdy assisted Desai in shifting inventory

between the two campaigns, GX330, 337, 1928, while still billing both

campaigns in full, GX 312.

      Purdy also endorsed a similar approach when presenting a 2014 proposal

to Novo Nordisk. On October 2, 2013, Purdy, Shah, and Desai engaged in a

lengthy email exchange in which they discussed the challenges of presenting

the client with an inflated list of Outcome’s network. GX 320-322, 324, 326-

329. The entire exchange would not have occurred if they were, in fact, being

honest with Novo Nordisk.

      B.    Purdy Ensured the Scheme’s Continued Success

      Even after Ashik Desai joined the company, Purdy knew the company’s

business model of faking it until making it persisted. Indeed, he continued to

perpetuate it. Purdy’s conduct with the tablets is most revealing. When

Outcome rolled out the tablet to clients in 2013, it was an unreliable and

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glitchy product that did not yield good data about patient interactions. Rather

than come clean to clients about the system’s deficiencies, Purdy proposed

selecting the top 5 or 10% of tablets and presenting those results to clients as

if this cherry-picked sample was representative of the entire campaign. Tr.

2358-2360; GX 1144, 1144a. Desai learned from this approach. In drafting the

first tablet report in November 2013 to be delivered to Pfizer, Desai told Purdy,

“Few things I heavily inflated - % engaging with tablet and impressions #. . . .

Let me know whether we should stay away from that.” GX345. Purdy never

told Desai to stop inflating tablet numbers. Tr. at 3933. Indeed, the practice

only grew from there.

      David Ma and Desai routinely fabricated tablet metrics through 2015.

An exchange between Ma and Purdy on May 4, 2015 demonstrated Purdy’s

ongoing approval of such fabrications. Purdy asked Ma, via chat, whether he

had tablet engagement data that had been shared with pharma clients.

DX3456. Ma responded that he did, but “they’re not real.” Id. When Purdy

seemed unruffled by this fact and stated his intention to share the false data

with prospective hospital clients, Ma asked, “[A]re you sure you’re comfortable

sharing non-real stats?” Id. Purdy responded that he was. Id. In a follow-up

email to Purdy and Desai a few hours later to which Ma attached a slide deck

with inflated tablet metrics, Ma wrote, “I’ve mentioned to BP that these are

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inflated. Wanted to make sure you’re comfortable with using numbers at these

magnitudes for potential use in presentations with systems.” GX465.

      Purdy also supported the practice of siloing information from salespeople

to sell larger campaigns. In an October 8, 2013 email, Purdy wrote, “[W]e

should probably make some sort of barrier between the [Sponsorship Sales]

team and ops with regards to tablets and/or take off the cumulative counts.

With all the projecting I want [Sponsorship Sales] to stay focused on selling

the future . . . .”. GX332. In other words, the sales team cannot know the truth

about the true inventory numbers because they might not be willing to sell

clients nonexistent inventory.

      In early 2015, Purdy was informed about the ongoing gap between

contractual obligations and deliveries, the “delta.” GX441, 441a. Rather than

ensure that clients were informed of these deltas, Purdy continued the practice

first implemented by Shah—growing into campaigns without disclosing the

initial shortfalls while billing clients at 100%. Even if Purdy somehow believed

that weighted average delivery was permissible, many shortfalls could never

be overcome under any delivery scenario.




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      C.    Purdy Approved Lies to Deloitte and Oversaw Raising
            Hundreds of Millions of Dollars

      Purdy played a crucial role in approving the lies that induced Deloitte to

sign off on Outcome’s financial statements. When Deloitte started its audit in

February 2016, it asked to see delivery data on various advertising campaigns.

GX530. Kathryn Choi, who was pulling the data, approached Desai with a

problem: “[I] think you mentioned that we’d shared with the auditors that we

may grow into programs over time, but how much of a delta would we be able

to show? Know some programs may have been at 50% so we’d probably need to

backfill those?” Id. In other words, they needed to falsify data or else the

auditors would discover they were under-delivering on their contracts.

      Purdy was not copied on Choi’s email, so Desai forwarded this suggestion

to “backfill” to Purdy to ask for his guidance. Id. One week later, Purdy emailed

Desai about whether they should “jump on the phone here today?” Id. Desai

responded they would be “okay” by “showing” devices assets that were

“uninstalled/repair” as having run the advertising campaign in question. While

there was some dispute at trial about whether and when a phone call occurred

between those two emails, the mere fact that Desai approached Purdy with the

shocking suggestion to “backfill” demonstrated that Purdy was an integral part

of scheme to inflate, under-deliver and conceal.


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      The stubborn fact remains: Purdy was told about a plan to fabricate

delivery data for Deloitte, and he nevertheless told Deloitte a few weeks later

that he had no knowledge of fraud at Outcome and that its financial statements

were accurate. GX533, 561.

      Concurrent with Purdy’s lies to Deloitte were more lies to Outcome’s

lenders at JPMorgan and other investment banks—all part of an effort to raise

$110 million in April 2016. Purdy quarterbacked the fraudulent loan. See

GX526, 527, 534, 535. He signed a representation letter stating that all the

materials provided to the banks, to include the inflated financial statements,

were true and accurate, GX551, a transmission charged as Count Seven of the

indictment. He sent the fraudulently obtained audit opinion and financial

statements to JPMorgan, GX560, which was charged as Count Eight of the

Indictment. And he executed the lending agreement itself, GX573 at 120, the

funding of which was charged as Count Nine.

      D.    Purdy Ignored Whistleblowers and Advice of In-House
            Counsel

      Even as Outcome started to professionalize and bring in outside

executives, multiple analysts reminded Purdy that fraud and dishonesty were

still at the heart of the company’s business model. Starting in March 2016, the

analysts began to leave, and, during their exit interviews, aired their concerns


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about the company’s dishonest business practices with the company’s in-house

counsel, Collin Williams. These concerns, memorialized in questionnaire

responses, alarmed Williams, who forwarded them to Purdy. Tr. 6367-80.

      In one questionnaire, the analyst wrote that her replacement should be

“[s]omeone for whom integrity is not a #1 concern; they should be willing to

operate in ethical shades of gray.” GX580. The analyst also recommended the

creation of a “corporate compliance team” and “an internal audit team.” Id.

Another analyst in his questionnaire complained of finding himself in

“situations that lacked ethics.” GX586. He explained further, “I also

determined that I cannot continue to put confidence behind work that isn’t

transparent and that makes me feel ethically compromised.” Id. Still another

analyst explained that her reason for leaving was due to “[e]thical issues with

how sponsorship 1) reports ROI 2) fulfills contracts 3) uses the analytics team

to cover up these issues.” GX592. Williams raised the analysts’ complaints with

Purdy, who dismissed the analysts as immature and lacking understanding of

Outcome’s “business model.” Tr. at 3680. Suspecting that improprieties were

afoot, Williams started looking for a new job. Id.

      At the same time, Williams recommended that Outcome hire outside

counsel to conduct an internal investigation into the company’s sales practices

and implement a compliance program. GX668; Tr. at 6390. Indeed, in

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November 2016, Williams told Purdy that Outcome needed a “compliance/risk

management professional whose sole focus is to maintain the integrity of the

business on all levels so we can be 100% buttoned up on all issues well in

advance of a liquidity event.” GX668. But Purdy did no such thing and moved

ahead with raising over $800 million. The jury appropriately convicted Purdy

of Count 13, related to the $375 million loan; and Counts 22, 24, and 26, all

related to the $487.5 million capital raise.

      E.    Purdy Concealed Make Goods and Delivery Shortfalls and
            Presented Inflated Financials When Raising Capital from
            Investors

      Purdy not only ignored and concealed evidence of Desai’s misdeeds, he

affirmatively lied to investors about Outcome’s track record with clients.

      Shortly before the company started raising money from investors, Purdy

was once again reminded how the company had always delivered its proofs of

performance: by inserting the contractual number of devices rather than the

number of devices that were actually live and active. In November 2016, a

client found out that affidavits for the Rexulti campaign had been false, and

Outcome had to deliver a make good. DX4258. And then, in the “Christmas

Vox,” sent on December 26, 2016, Desai reminded Purdy and Shah of this

practice and the problem with correcting it, thereby “call[ing] attention to

massive inventory gaps in their contracts [that] would then open up a whole

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and historical legacy of potential issues that we’d have to address.” GX704. At

the same time, Outcome was giving massive make goods due to ROI misses,

and, in Shah’s contemporaneous account, Purdy had “grave concerns . . . about

. . . our lack of ability to fulfill the current standing of 2017 contracts.” GX701.

      When presenting to investors over the following months, however, Purdy

mentioned nothing about make goods or historical or current inventory

shortfalls. Instead, Purdy and his co-defendants presented an image of

unbounded growth, unbreakable client relationships, and never-missed ROI

guarantees. GX729; Tr. 8618-24; 8635-36. And they continued to bill clients in

full and present false affidavits. These were all lies.

      F.    Purdy Continued to Conceal Even as Clients Learned of
            More Shortfalls

      Purdy’s instincts to lie and conceal were on full display even after clients

began learning of the magnitude of the campaign shortfalls. Purdy personally

negotiated and approved the cash refund to Pfizer in the summer of 2017, while

playing off the shortfalls as an unfortunate mistake rather than a longstanding

practice of cheating their clients, GX 988, Tr. 6077-88. Yet Desai had reminded

Purdy of the persistent rheumatology shortfalls a few months earlier, GX704,

and Purdy had been personally involved in overselling and under-delivering

rheumatology campaigns as far back as 2013, GX330, 337, 1928.


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         Even at the end, Purdy did not relent in his long-standing support for

and participation in the fraudulent scheme that had fueled Outcome’s growth.

Purdy believed that if they could bury the past for a little longer, then his

equity stake in a multi-billion-dollar company would make him wildly rich. GX

1946, 1946a.

   II.        The Probation Officer’s Sentencing Guidelines Calculation

         The Probation Officer concluded that the defendant’s offense level was

35 and that his criminal history category was I. This is based on a base offense

level of 7, an increase of 28 levels for the amount of loss, and an increase in 2

levels for 10 or more victims.

         The government agrees with the Probation Officer’s calculations, except

that the government believes that the sophisticated means enhancement

should apply.

         A.     Sophisticated Means Enhancement

         The government objects to the probation officer’s decision to forego the

sophisticated means enhancement. The defendants’ scheme did involve the use

of sophisticated means that Purdy intentionally engaged in and caused.

         “The purpose of the enhancement is to deter ‘elaborate efforts to avoid

detection.’” Sykes, 774 F.3d at 1153 (citing United States v. Landwer, 640 F.3d

769, 772 (7th Cir. 2011)). Offense conduct is sophisticated if it displays “a

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greater level of planning or concealment than a typical fraud of its kind.”

United States v. Wayland, 549 F.3d 526, 528 (7th Cir. 2009). For the

enhancement to apply, the conduct must be “notably more intricate than that

of the garden-variety offense.” United States v. Sheneman, 682 F.3d 623, 632

(7th Cir. 2012) (quoting United States v. Knox, 624 F.3d 865, 871 (7th Cir.

2010)); see also, United States v. Harris, 791 F.3d 772, 781 (7th Cir. 2015)

(“[T]he level of planning or concealment in relation to a typical fraud of its kind

is determinative.”).

      The scheme itself involved sophisticated means for the reasons described

in the sentencing memoranda for Shah and Agarwal. The record is clear that

Purdy himself engaged in and caused some of those sophisticated means. For

example, as described above on page 5, Purdy was involved in an extensive

amount of discussion with Desai and Shah about how to lie to and conceal the

fraud from Novo Nordisk in October 2013. In another example, Purdy was

involved in fashioning a process for cherry-picking tablet metrics as described

above on page 5. For these reasons and others, Purdy was engaged in and

caused at least some of the sophisticated means used to perpetrate the fraud

scheme for which he was found guilty.




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      B.     The Government’s Guidelines Calculation

      The government’s Guidelines calculations are set forth below.

Base Offense Level (§ 2B1.1(a)(1))                                          +7
Loss more than $250 million (§ 2B1.1(b)(1)(O))                              +28
More than 10 victims (§ 2B1.1(b)(2)(A)(i))                                  +2
Sophisticated means (§ 2B1.1(b)(10)(C))                                     +2

Zero Point Offender                                                         -2

TOTAL                                                                       37


With an offense level of 37 and a criminal history category of I, the Guidelines

range is 210 to 262 months’ imprisonment.

   III.    The Factors Set Forth in 18 U.S.C. § 3553(a)

      A.     Seriousness of the Offense and Nature and Circumstances
             of the Offense

      As described in the memorandums for Shah’s and Agarwal’s sentencings,

this corporate fraud scheme—in which Purdy was a core participant

throughout—is extraordinary for its duration, pervasiveness and scope of

harm. Purdy knowingly and intentionally carried out Shah’s plan to accelerate

the growth of Outcome with fraudulent sales, and then cash out on the back of

Outcome’s astonishing growth.

      Purdy stood to gain much less than Shah and Agarwal—and ultimately

did gain much, much less—but the potential financial and professional upside


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for Purdy was still immense. And Purdy’s support was instrumental—and

necessary—for the completion of the phase of the scheme that caused the

greatest pecuniary harm: the fraud on Outcome’s lenders and investors.

      Purdy was intently loyal both to Rishi Shah and to his fraud scheme. It

is worth recognizing that Purdy was a close friend to Shah, Tr. 3407:11-24,

undoubtedly a motivating factor for Purdy’s misconduct. Not only did Purdy

have a small slice of ownership in Outcome, GX1941, 1064, as a member of

Shah’s inner-circle—and Outcome’s COO and CFO—there was huge upside for

Purdy if the scheme succeeded and Shah realized his ultimate dream of taking

Outcome public in an IPO.

      B.     History and Characteristics

      Like most of the young people drawn into Shah’s scheme, Purdy was a

well-educated, smart and very capable young professional. He stayed at

Outcome and committed fraud by choice, loyal to Shah’s dream of riding

Outcome’s rocket ship growth into the stratosphere of wealth and prestige. And

he gamely abandoned his integrity away to make it there. Purdy was no

passive member of Shah’s massive fraud scheme. He willingly lied again and

again to pull it off.

      Purdy repeatedly lied to Deloitte. The auditors conducted a management

inquiry of Purdy in March 2016. GX533. Purdy assured Deloitte that he was

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not aware of any fraud at the company and that anyone acting unethically

would be fired immediately. And Purdy signed his name to a management

representation letter signing off on the company’s financials and making

multiple false denials of fraud.

      Worse still, Purdy did the same in October 2016 (management inquiry

meeting—GX652) and March 2017 (management representation letter—

GX910), during and after a deluge of allegations from concerned employees,

e.g., GX580, 592, 667, 1911, 857, 862, and brainstorming by Desai and Shah in

late December 2016 about how to cover up Outcome’s history of issuing false

affidavits and its “massive inventory gaps.” GX701, 704, GX707.

      Then, in late 2016 and early 2017, just as he was voicing major concerns

to Shah about the revenue fallout from Outcome’s massive inventory gaps,

GX736, Purdy was leading the effort to raise hundreds of millions of dollars

from private investors. Tr. 8628:7-8629:10; 8630:4-8631:12. Purdy crafted

investor slides that concealed Outcome’s failures to meet ROI guarantees to

customers (compare GX535, p.16 to 729, p.24), and he was in meetings where

he or Shah or both convinced investor Leerink that Outcome had never missed

an ROI guarantee. Tr. 7916-17.




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      Purdy sent tablet metrics that Ma specifically told Purdy were “not real”

and “inflated” to an industry contact to tout the attractiveness of Outcome

tablets to hospital systems. DX3456; GX465 & 1908.




Purdy had zero qualms with presenting fabricated tablet metrics to hospital

systems. The success of the scheme required it. Otherwise, the messaging

would be inconsistent with what Outcome had told its clients about the tablets.




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And the evidence was clear as to what Purdy did. Comparing the slides that

Ma sent to Purdy shows that the slides Purdy sent to his contact outside the

company used nearly identical tablet engagement metrics.

      C.    The Need for Deterrence

      The government will not repeat all of the points advanced in its

sentencing submissions for Shah and Agarwal, but the circumstances here are

the same. Corporate fraud is often committed by educated and affluent

defendants. None of the participants in this scheme acted out of need or




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passion, so the conduct can be deterred with punishment that includes

meaningful terms of incarceration.

      A sentence of 10 years’ incarceration for Purdy is an appropriate

measure of punishment for Purdy’s serious crimes. It would deter other

executives from engaging in similar conduct, and it would protect the rule of

law. C-suite executives of substantial companies like Outcome are entrusted

with power that has the capacity to positively or negatively impact society. The

public depends on the criminal justice system to hold those executives

accountable for criminal corporate fraud. For Purdy, a sentence of less than 10

years raises a significant risk of undermining respect for the rule of law by

signaling a lack of serious interest in holding corporate executives accountable

for their crimes.

      D.    Purdy’s Conduct Relative to the Conduct of Agarwal

      The government also considered the need to avoid unwarranted

sentencing disparities. In doing so, the government considered the relative

culpability of Purdy and Agarwal, and whether they deserved different

sentences. In doing so, the government determined that Purdy and Agarwal

were equally culpable for their actions, but in different ways.

      Agarwal was extensively involved in the pharma customer fraud during

2012 and 2013, and so was an early initiator of the scheme. She also stood to

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benefit much more than any other co-schemer besides Shah, and she

ultimately did benefit by receiving millions of dollars in fraudulent proceeds.

      Purdy was also involved in the pharma customer fraud, but less so than

Agarwal. He occasionally assisted Desai and Shah in deceiving customers, and

he supported the use of fraudulent tablet metrics in presentations to

customers. Nonetheless, Purdy was less involved in day-to-day sales decisions

like Agarwal was in 2012 and 2013. Moreover, Purdy benefited much less than

Agarwal from the fraud.

      Despite his small equity stake in Outcome, Purdy engaged full force in

the effort to defraud Outcome’s lenders and investors. He helped defraud

Deloitte and he lied to and misled Outcome’s investors. While young and early

in his career, Purdy was highly intelligent and understood the ramifications of

lying to banks and investment firms to trick them into supplying capital. Yet

he did so anyway. In this way, Purdy was front-and-center in causing the vast

majority of the loss and harm associated with the fraud scheme. Because of

this direct connection to causing the huge amount loss to investors and lenders,

and because Purdy knew about and encouraged the pharma fraud, he is

equally culpable when compared to Agarwal. And, for that reason, the

government did not see a justification for recommending different sentences

for Agarwal and Purdy.

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   IV.   Restitution

   Restitution is mandatory in this case pursuant to 18 U.S.C. § 3663A, at a

total amount of $455,258,505.64. Restitution should be ordered in the amounts

and to the entities set forth in the Second Supplement to the Government’s

Version of the Offense and its accompanying exhibits.


                                CONCLUSION

      Purdy teamed up with Shah, Agarwal and Desai to commit serious

crimes for which he deserves to be punished through a meaningful and

appropriate term of imprisonment. As is the case with Shah and Agarwal,

Purdy’s sentence should vary below the Guidelines sentence, but it should be

sufficient to account for the seriousness of Purdy’s misconduct—especially as

it relates to raising money for Outcome—as well as Purdy’s personal

circumstances leading to his misconduct and the need for adequate general

deterrence and support for the rule of law. Here, 10 years’ imprisonment is

sufficient but not greater than necessary to satisfy the factors under 18 U.S.C.

§ 3553(a).




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                                           Respectfully submitted,



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